Case 1:10-cv-00115-LO-TCB Document 1374 Filed 03/14/19 Page 1 of 5 PageID# 48240



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division



      TecSec,Incorporated,

                             Plaintiff,
                                                                Civil Action No. l:10-cv-115
             V.                                                 Hon. Liam G'Grady

      Adobe Inc.,et al.

                             Defendants.


                                    MEMORANDUM OPINION

         This matter comes before the Court on Defendant Adobe Inc.'s Motion for Judgment as a

  Matter of Law That TecSec, Inc. Has Not Complied with 35 U.S.C. § 287(a)(Dkt. 1338). An

  opposition brief was filed and the Court heard oral argument. The Court granted the Motion

  during trial for the reasons stated from the bench and for good cause shown, and issued an Order

  to that effect. This Memorandum Opinion follows to more fully explain the Court's reasoning for
  granting the Motion from the bench.

             A. The Marking Motion for Judgment As a Matter of Law Was Not Moot.

         TecSec argues that the issue of marking is moot because of TecSec and Adobe's joint
  stipulation that'in light ofthe Court's ruling to exclude certain evidence relating to whether
  Adobe possessed pre-suit knowledge of acts constituting infringement(over TecSec's objection),
  TecSec will not seek damages in this trial for the time period pre-dating the filing of the present
  lawsuit." Dkt. 1330. The Court disagrees.

         The evidence the Court excluded was not related to whether TecSec complied with the
 marking obligations of35 U.S.C. § 287(a). Instead, it was related to the separate issue of whether
Case 1:10-cv-00115-LO-TCB Document 1374 Filed 03/14/19 Page 2 of 5 PageID# 48241
Case 1:10-cv-00115-LO-TCB Document 1374 Filed 03/14/19 Page 3 of 5 PageID# 48242
Case 1:10-cv-00115-LO-TCB Document 1374 Filed 03/14/19 Page 4 of 5 PageID# 48243
Case 1:10-cv-00115-LO-TCB Document 1374 Filed 03/14/19 Page 5 of 5 PageID# 48244
